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                         EXHIBIT 7

Deep South Center for Environmental Justice
                         Declaration
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